Case 1:23-cr-00061-MN Document 181 Filed 05/24/24 Page 1 of 3 PageID #: 2891




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       ) Criminal Action No. 1:23-cr-00061-MN
                                     )
ROBERT HUNTER BIDEN,                 )
                                     )
            Defendant.               )
                                     )
____________________________________)


        MR. BIDEN’S REPLY IN SUPPORT OF HIS MOTION IN LIMINE TO
         EXCLUDE ANY STATEMENTS HE MADE AT THE JULY 26, 2023
                        HEARING IN THIS MATTER




      Abbe David Lowell                      Bartholomew J. Dalton (#808)
      Christopher D. Man                     DALTON & ASSOCIATES, P.A.
      WINSTON & STRAWN                       1106 West 10th Street
      1901 L Street NW                       Wilmington, DE 19806
      Washington, DC 20036                   Tel.: (302) 652-2050
      Tel.: (202) 282-5000                   BDalton@dalton.law
      Fax: (202) 282-5100
      AbbeLowellPublicOutreach@winston.com

                              Counsel for Robert Hunter Biden
Case 1:23-cr-00061-MN Document 181 Filed 05/24/24 Page 2 of 3 PageID #: 2892




       Mr. Biden, by and through undersigned counsel, respectfully submits this Reply in support

of his Motion in limine to exclude any statements he made at the July 26, 2023 hearing in this

matter. (DE 137.) The Special Counsel responded that he does not intend to introduce statements

outside the limits of Federal Rule of Evidence 410 and Federal Rule of Criminal Procedure 11(f).

(DE 170 at 1.) Mr. Biden agrees, and that should mean that none of the statements are admissible.

For the avoidance of any doubt, Rule 410(b)’s exception, allowing prosecutors to use Rule 11(f)

statements in cases charging false statements, does not apply here, and has no bearing on this case.

Such statements are only admissible “in a criminal proceeding for perjury or false statement, if the

defendant made the statement under oath, on the record, and with counsel present.” 1 Fed. R. Evid.

410(b)(2). Mr. Biden is not being charged with false statements he made under oath in connection

with his plea hearing on July 26 in this Court. Rather, the alleged false statement in this case stems

from that made on a firearm transactions record (Form 4473) on October 12, 2018. Accordingly,

Mr. Biden respectfully requests that this Court grant his motion in limine to exclude any statements

he made at the July 26, 2023 hearing.


Dated: May 24, 2024                             Respectfully submitted,

                                                /s/ Abbe David Lowell
Bartholomew J. Dalton (#808)                    Abbe David Lowell
DALTON & ASSOCIATES, P.A.                       Christopher D. Man
1106 West 10th Street                           WINSTON & STRAWN
Wilmington, DE 19806                            1901 L Street NW
Tel.: (302) 652-2050                            Washington, D.C. 20036
BDalton@dalton.law                              Tel.: (202) 282-5000
                                                Fax: (202) 282-5100
                                                AbbeLowellPublicOutreach@winston.com
                                                CMan@winston.com

                       Counsel for Robert Hunter Biden


1 The Special Counsel previously noted this is the “sole exception” for admissibility of statements

governed by Federal Rule of Criminal Procedure 11(f) and FRE 410. (DE 69 at 18 n.7.)


                                                  1
Case 1:23-cr-00061-MN Document 181 Filed 05/24/24 Page 3 of 3 PageID #: 2893




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of May, 2024, I filed the foregoing Reply in support

of Mr. Biden’s Motion in Limine with the Clerk of Court using the CM/ECF system, which will

send a notification of such filing to all counsel of record.


                                                       /s/ Abbe David Lowell
                                                       Abbe David Lowell

                                                       Counsel for Robert Hunter Biden




                                                  2
